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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA
                          AUGUSTA DIVISION

Valencia Colon,

Plaintiff,
                                                  Civil Action File No.
v.                                              1:21-cv-00149-JRH-BKE

Richard Roundtree, et al.,

Defendant.

     Proposed Order: Consent Request for Extension of Time to Respond

       Plaintiff’s Request for Extension of Time to Respond by consent is hereby

granted. Plaintiff shall respond to Defendants’ Motion for Partial Summary

Judgment by July 12, 2022.

Dated: July 8, 2022.

                                               s/ Paul Sullivan, for
                                              _________________________
                                              Clerk, United States District Court,
                                              Southern District of Georgia
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Presented by:
                                     THE CAUTHORN FIRM

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                               Certificate of Service

      The undersigned certifies a copy of the foregoing was served upon counsel

of record via this Court's electronic case filing (ECF) system. Attorneys of record

are

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      This 8th day of July, 2022.

                                          THE CAUTHORN FIRM

                                          /s/J. Wickliffe Cauthorn
                                          J. Wickliffe Cauthorn
                                          Georgia Bar No. 907911




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